Case 1-25-4Zo091-JmM Docl FileadO//Oo/z5 Entered O//O0/25 Lolediscd

 

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United States Bankruptcy Court for the:

District of

(State)
| Case number (if known): Chapter i OQ) Check if this is an

_ _ amended filing

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name WiS lon. No\ UN, b = ioAase C.. tnd

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

eee ih Ee
2. All other names debtor used
in the last 8 years
Include any assumed names,
trade names, and doing business
as names
3. Debtor’s federal Employer 3 g 3 & he 03 oF
Identification Number CEI)
4. Debtor’s address Principal place of business Mailing address, if different from principal place
. . of business
OA Schenci f
AA Schenck Ie
Number Street Number Street
KI il +I 1), L P.O. Box
f State’ ld Code City State ZIP Code
Location of principal assets, if different from
principal place of business
Song
County
Number Street
City State ZIP Code

 

5. Debtor’s website (URL)

 

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6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the

Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor’ must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must
check the second sub-box.

Official Form 201

wey Corporton (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
QO Partnership (excluding LLP)
UO) other. Specify:

A. Check one:

(2 Health Care Business (as defined in 11 U.S.C. § 101(27A))
DéSacle Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(2 Railroad (as defined in 11 U.S.C. § 101(44))

(2) Stockbroker (as defined in 11 U.S.C. § 101(53A))

( Commodity Broker (as defined in 11 U.S.C. § 101(6))

© Clearing Bank (as defined in 11 U.S.C. § 781(3))

CI None of the above

B. Check all that apply:

U Tax-exempt entity (as described in 26 U.S.C. § 501)

(J Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

(2 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.gov/four-digit-national-association-naics-codes ‘

 

Check one:

Chapter 7
(2) Chapter 9
© Chapter 11. Check all that apply:

2 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

© The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.
§ 1116(1)(B).

CA plan is being filed with this petition.

2 Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C2] The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

(© The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

_ O\Chapter12

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filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

41. Why is the case filed in this
district?

U) A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

 

Debtor | | \( { \ N\q
Name

i ———————

9. Were prior bankruptcy cases []) No

\ Roe

 

Des. District FE

 

 

( N Case number (if known),

When

MM/ DD/YYYY

 

District When
MM/ DD/YYYY
No
O Yes. Debtor
District

 

Case number, if known

 

Case number

Case number

 

Relationship

 

When

i. all that apply:
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or

district.

we

for a longer part of such 180 days than in any other

Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)

U1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

() It needs to be physically secured or protected from the weather.

U1 It includes perishable goods or assets that could quickly deteriorate or lose value without

attention (for example, livestock, seasonal goods, me

assets or other options).

OQ) Other

at,

dairy, produce, or securities-related

 

Where is the property?
Number

Street

 

 

City

Is the property insured?

Ui No

O) Yes. insurance agency

State ZIP Code

 

Contact name

 

Phone

 

BE sar and administrative information

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ont NS |

Name

 

iN 9 faye IMG ne number (if known)
: t

 

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

Check one:

U Funds will be available for distribution to unsecured creditors.

C) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

was

C) 1,000-5,000

L) 25,001-50,000

 

15. Estimated assets

16. Estimated liabilities

C) 50-99 CJ 5,001-10,000 (3 50,001-100,000

QQ 100-199 O) 10,001-25,000 CJ More than 100,000

C) 200-999

CD $0-$50,000 (I $1,000,001-$10 million CJ $500,000,001-$1 billion

CU) $50,001-$100,000
C3 $100,001-$500,000
$500,001-$1 million

Q) $0-$50,000

C] $50,001-$100,000
C} $100,001-$500,000
CJ $500,001-$1 million

U) $10,000,001-$50 million
CI $50,000,001-$100 million
CJ $100,000,001-$500 million

wer ,000,001-$10 million

C) $10,000,001-$50 million
C) $50,000,001-$100 million
C1 $100,000,001-$500 million

(J $1,000,000,001-$10 billion
C) $10,000,000,001-$50 billion
C) More than $50 billion

CI $500,000,001-$1 billion

C) $1,000,000,001-$10 billion
CJ $10,000,000,001-$50 billion
(] More than $50 billion

7 Request for Relief, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penaity of perjury that the foregoing is true and correct.

    

flee MATIEW) Nook2

vf - ee
Signature of author; bef tepreséntative of debtor Printed name

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18. Signature of attorney x Dat
ate
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

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